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 8
   Attorneys for Plaintiff
 9 United States of America
10                          UNITED STATES DISTRICT COURT
11                           SOUTHERN DISTRICT OF CALIFORNIA
12 UNITED STATES OF AMERICA                ) No. 18CR3677-W
13                                         )
          Plaintiff,                       ) JOINT MOTION TO EXCLUDE TIME
14                                         ) UNDER THE SPEEDY TRIAL ACT
15  v.                                     )
                                           )
16 DUNCAN D. HUNTER, (1)                   )
17 MARGARET E. HUNTER, (2)                 )
                                           )
18                   Defendants.           )
19                                         )
20
21         The United States of America, by its counsel, and defendants Duncan D. Hunter and

22 Margaret E. Hunter, by their counsel, Gregory A. Vega and Logan Smith and Thomas W.
23 McNamara, jointly move to exclude time under the Speedy Trial Act, 18 U.S.C.
     § 3161(h)(7).
24
           1.    The Indictment in this case was returned on August 21, 2018. Both
25
     defendants were arraigned on the indictment on August 23, 2018. The Speedy Trial Act,
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     18 U.S.C. § 3161(c)(1), requires trial to commence within 70 days of a defendant’s
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 1 arraignment. This resulted in the initial maximum trial date being set at November 1,
 2 2018.
 3         2.    Beginning on August 31, 2018, the United States has produced to defense
 4 counsel discovery in this case, including approximately two terabytes of data along with
 5 detailed indexes describing all the discovery materials. These materials include records
 6 received from staff members and witnesses, banks, and vendors and other businesses;
 7 social media and internet service providers; and evidence seized pursuant to searches
 8 conducted at physical locations and email and social media accounts. It also includes
 9 reports of interviews with witnesses and co-defendants and affidavits in support of search
10 warrants.
11       3.      This Court held status hearings on September 4, September 24, and December

12 3, 2018, in the presence of both defendants. Each time, all parties agreed that the motions
   hearing should be continued so that the defense could review the discovery materials and
13
   prepare their defense. Each time, with the agreement of all parties, the Court found that a
14
   failure to continue the matter would result in a “miscarriage of justice.”
15
          4.      At the status hearing on December 3, 2018, all parties requested that the Court
16
   hold a motions hearing on July 29, 2019 and agreed to set the trial for September 10, 2019.
17
   At this time, it is anticipated that this schedule will allow the defense the reasonable time
18
   necessary for effective preparation, including to review the voluminous discovery
19
   materials, conduct its own investigation as necessary, prepare pretrial motions, and prepare
20
   the case for trial. The Court set a motions hearing date on July 29, 2019. The Court set
21
   the trial for September 10, 2019. In doing so, it found that the failure to do so would result
22
   in a miscarriage of justice.
23
          5.      The ends of justice served by granting the trial date outweigh the best interest
24
   of the public and the defendants in a speedy trial. The parties have exercised due diligence.
25
   But failure to grant the trial date and motions hearing date would deny counsel the
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   reasonable time necessary for effective preparation and result in a miscarriage of justice.
27
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                                                  2
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 1        6.    Defendants are both currently out of custody.
 2        7.    Counsel for defendants have discussed the need for this trial and motions
 3 schedule with the defendants. Defendants agree to and join in the request to set a motions
 4 hearing for July 29, 2019, and the trial on September 10, 2019.
 5       8.     The parties therefore jointly move to exclude time under the Speedy Trial
 6 Act. The parties agree the period of delay excluded spans the time from December 3, 2018,
 7 to September 10, 2019.
 8
                                         Respectfully submitted,
 9
10 DATED: December 5, 2018               ADAM L. BRAVERMAN
                                         United States Attorney
11
12                                       /s/ Emily W. Allen
                                         EMILY W. ALLEN
13                                       W. MARK CONOVER
14                                       PHILLIP L.B. HALPERN
                                         Assistant U.S. Attorneys
15
16
     DATED: December 6, 2018             /s/ Gregory A. Vega
17                                       GREGORY A. VEGA
18                                       Attorney for Duncan D. Hunter
19
20 DATED: December 5, 2018               /s/ Logan Smith
                                         LOGAN SMITH
21                                       THOMAS W. McNAMARA
22                                       Attorneys for Margaret E. Hunter
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                                               3
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 4                             UNITED STATES DISTRICT COURT
 5                        SOUTHERN DISTRICT OF CALIFORNIA
 6
 7   UNITED STATES OF AMERICA,                 Case No.: 18CR3677-W
 8                Plaintiff,
 9         v.                                  CERTIFICATE OF SERVICE
10
     DUNCAN D. HUNTER, (1)
11   MARGARET E. HUNTER, (2),
12
                  Defendants.
13
     IT IS HEREBY CERTIFIED THAT:
14
15        I, EMILY ALLEN, am a citizen of the United States and am at least eighteen

16 years of age. My business address is 880 Front Street, Room 6293, San Diego,
17
   California 92101-8893. I am not a party to the above-entitled action.
18
19       I have caused service of JOINT MOTION TO EXCLUDE TIME UNDER THE
20 SPEEDY TRIAL ACT on defense counsel by electronically filing the foregoing with
21
   the Clerk of the District Court using its ECF System.
22
23              I declare under penalty of perjury that the foregoing is true and correct.
24        Dated: December 6, 2018
25
26
27                                              s/Emily Allen
                                                EMILY ALLEN
28                                              Assistant U.S. Attorney
